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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.,

                    Plaintiffs,                      C.A. No. 1:25-cv-00429

                                                     JOINT MOTION AND STIPULATION
           v.                                        TO VACATE CURRENT DEADLINES
                                                     AND BRIEFING SCHEDULE FOR
 ELON MUSK, et al.,                                  FILING PRELIMINARY INJUNCTION
                                                     MOTION
                    Defendants.




 JAPANESE AMERICAN CITIZENS
 LEAGUE, et al.,

                    Plaintiffs,
                                                     C.A. No. 1:25-cv-00643
           v.

 ELON MUSK, et al.,

                    Defendants.



       In light of the Defendants’ pending petition for writ of mandamus arising out of New

Mexico, et al., v. Musk, et al. (No. 1:25-cv-00429), and the ongoing proceedings in the U.S. Court

of Appeals for the D.C. Circuit in In re Elon Musk, et al. (No. 25-5072), the parties have conferred

and jointly ask this Court to vacate the April 11, 2025 deadline for the State Plaintiffs to file a

preliminary injunction motion and the related briefing schedule, to be rescheduled at a later date. 1

       A proposed order is filed concurrently herewith.


       1
          Counsel for the State Plaintiffs conferred via email on April 3, 2025, with counsel for
Defendants and counsel for Japanese American Citizens League, et al.; all counsel agreed that the
State Plaintiffs could style the present request as a joint motion and stipulation.
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Dated: April 8, 2025

                                    Respectfully submitted,

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